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     THE SENATE                                                 k       2954
     TWENTY-EIGHTH LEGISLATURE, 2016                            IN      S.D. 2
     STATEOFHAWAII                                         •            H.D.1



                      A BILL FOR AN ACT
     RELATING TO FIREARMS.


     BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF HAWAII:

 1         SECTION 1.    The legislature finds that criminal background

 2   checks on firearms applicants are critical to ensure the safety

 3   of the community.

 4         The rap back system is a service of the Federal Bureau of

 S   Investigation that provides continuous criminal record

 6   monitoring for authorized government agencies,            including law

 7   enforcement agencies,     and notifies them when an individual

 8   subject to a criminal history record check is arrested for a

 9   criminal offense anywhere in the country.         This notification

10   will allow county police departments in Hawaii to evaluate if

11   the owner of a firearm may continue to legally possess and own

12   firearms.

13         The purpose of this Act is to authorize county police

14   departments in Hawaii to enroll firearms applicants and

15   individuals who are registering their firearms into the rap back

16   system.

                                 Exhibit "B"



     SB2954 HD1 HMS 2016-2845-1
